      Case 4:16-cv-01414 Document 423 Filed in TXSD on 06/25/18 Page 1 of 6
                                                                                         United States District Court
                                                                                           Southern District of Texas

                                                                                              ENTERED
                          IN THE UNITED STATES DISTRICT COURT                                 June 25, 2018
                                                                                           David J. Bradley, Clerk
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

MARANDA LYNN ODONNELL, et al.,                     §
On behalf of themselves and all others             §
similarly situated,                                §
                                                   §
                       Plaintiffs,                 §
                                                   §   CIVIL ACTION NO. H-16-1414
VS.                                                §
                                                   §
HARRIS COUNTY, TEXAS, et al.,                      §
                                                   §
                       Defendants.                 §

              AMENDED SCHEDULING AND DOCKET CONTROL ORDER

       At the amended preliminary injunction order hearing on June 14, 2018, the court ordered the

parties to confer and submit proposed scheduling and docket control orders. (Docket Entry No. 415

at 78–79). The parties submitted proposals. (Docket Entry Nos. 417, 418). The amended

scheduling and docket control below is ordered for the following reasons.

I.     The Parties’ Scheduling Proposals and Arguments

       The parties agree on the summary judgment schedule but not on the discovery and merits

trial schedule. The disparity begins with the proposed date for the close of fact discovery. The

plaintiffs propose that fact discovery close on July 27, 2018. The defendants propose January 31,

2019, six months later.

       The defendants argue that the additional time is needed so that a record can be developed

reflecting the post-preliminary injunction bail system. (Docket Entry No. 417 at 1). The defendants

assert that “courts must evaluate the constitutionality of the system currently in place, not the older,

now-defunct system.” Id. at 4 (citing Pugh v. Rainwater, 572 F.2d 1053, 1058 (5th Cir. 1978)).


                                                   1
     Case 4:16-cv-01414 Document 423 Filed in TXSD on 06/25/18 Page 2 of 6



“The process of developing that record cannot begin until, at the earliest, after the current

preliminary injunction is vacated, and we respectfully submit that a minimum of six months

operation under the reformed system is necessary to develop an adequate record.” Id. The

defendants point to the changes it has made or will make—including adopting the Arnold Tool,

providing arrestees with counsel, opening a joint processing center, expanding the early presentment

policy, and adopting procedural protections consistent with the Fifth Circuit’s opinion—as factors

that will impact the record. Id. at 2–3.

       The plaintiffs argue that the issues left to be litigated are limited and that the need for

discovery is minimal, in part because an extensive factual record was already created during the

preliminary injunction hearing. (Docket Entry No. 418 at 2). The plaintiffs argue that the relevant

practices to be enjoined “are the ones that existed when Plaintiffs sued,” not the ones currently in

place, as the defendants argue. Id. at 3. The plaintiffs challenge the defendants’ reliance on

Rainwater, noting that the challenge in Rainwater was moot because the Florida promulgated a new

rule, and arguing that the defendants have not met their burden to prove mootness. Id. at n.3 (citing

Parents Involved in Cmty. Sch. v. Seattle Sch. Dist. No. 1, 551 U.S. 701, 719 (2007) and Knox v.

Serv. Employees Int’l Union, Local 1000, 567 U.S. 298, 299 (2012)). The plaintiffs assert that “[t]he

main dispute to be resolved by the evidence at trial is whether automatic secured money bonds

satisfy heightened scrutiny because they provide unique benefits that serve compelling interests

better than alternatives.” Id. at 5. The plaintiffs argue that the defendants’ changes to their system

will not answer that question and that the defendants are attempting to relitigate facts and issues

already decided. Id.




                                                  2
      Case 4:16-cv-01414 Document 423 Filed in TXSD on 06/25/18 Page 3 of 6



II.    Analysis

       In Rainwater, the Fifth Circuit held that because a challenge to Florida’s procedures was

rendered moot by Florida’s adoption of a new Rule of Criminal Procedure, the Circuit’s “review

must be in the light of the Florida rule as it now stands, not as it stood when the judgment below was

entered.” 572 F.2d at 1058. The Circuit found that the record on appeal was inadequate because

it contained only evidence of practices predating the rule’s adoption. Id. Rainwater cited two

Supreme Court cases, Kremens v. Bartley, 431 U.S. 119 (1977) and Diffenderfer, et al. v. Central

Baptist Church of Miami, Florida, et al., 404 U.S. 412 (1972). In Kremens, challenges to

Pennsylvania’s statutes governing voluntary admission and commitment of minors to state mental

institutions were mooted by a new statute passed after the lower court’s judgment. 431 U.S. at 127.

In Diffenderfer, a challenged Florida statute was repealed pending appeal, necessitating review of

the lower court’s judgment in light of post-repeal Florida law. 404 U.S. at 414. The Court noted

that the case was not “capable of repetition, yet evading review.” Id. (citing S. Pac. Terminal Co.

v. Interstate Commerce Comm’n, 219 U.S. 498, 515 (1911).

       The legal challenges in Rainwater, Kremens, and Diffenderfer were rendered moot by factors

other than a court-ordered preliminary injunction. Similar factors are not present here. The steps

taken by the County to improve its bail system are commendable. (Docket Entry No. 417 at 2–3).

But the County has not made clear that it would adopt, and continue to implement, the procedural

protections necessary to prevent further constitutional violations absent an injunction. The County

makes no such assurances in its response to the plaintiffs’ proposed scheduling order. (Docket Entry

No. 419 at 4–5). Rather, the County continues to defend the legality of its practices, as evidenced

by its intent to defend the merits of its practices in summary judgment proceedings, showing that


                                                  3
     Case 4:16-cv-01414 Document 423 Filed in TXSD on 06/25/18 Page 4 of 6



there is still a live controversy. (Docket Entry No. 417 at 6); Knox, 567 U.S. at 307 (“The voluntary

cessation of challenged conduct does not ordinarily render a case moot because a dismissal for

mootness would permit a resumption of the challenged conduct as soon as the case is dismissed.

And here, since the [defendant] continues to defend the legality of the [challenged action], it is not

clear why the [defendant] would necessarily refrain from [committing the challenged action] in the

future.” (citation omitted)). The proper inquiry at the trial will be whether the plaintiffs’ challenges

of the County’s practices—as they were before the preliminary injunction was entered—actually

succeed on their merits. Dresser-Rand Co. v. Virtual Automation Inc., 361 F.3d 831, 847 (5th Cir.

2004). But additional discovery, including discovery as to the post-amended preliminary injunction

order bail system, will assist this court in fashioning a permanent injunctive remedy, if appropriate.

       The plaintiffs’ proposed schedule is unworkable. Even if no further discovery was

necessary, the plaintiffs’ proposal does not provide a sufficient amount of time between the

summary judgment briefing and the merits trial. Further, because one of the trial questions

identified by the plaintiffs is whether secured money bail serves government interests better than

alternative conditions of release, allowing additional discovery—particularly appearance rates after

the amended preliminary injunction order is entered—will be helpful in answering questions about

the efficacy of secured money bail, even if it does not impact liability. Though the plaintiffs are

correct that evidence from the preliminary injunction hearing can “become[] part of the trial record

and need not be repeated at trial,” FED. R. CIV. P. 65(a)(2), “the findings of fact and conclusions of

law made by a court granting a preliminary injunction are not binding at trial on the merits.”

Dennis Melancon, Inc. v. City of New Orleans, 703 F.3d 262, 268 (5th Cir. 2012) (quotation and

citation omitted).


                                                   4
      Case 4:16-cv-01414 Document 423 Filed in TXSD on 06/25/18 Page 5 of 6



       The defendants’ proposed schedule affords an additional six months to the discovery process.

That time period is too long. To afford sufficient time for additional discovery and for the resolution

of the parties’ summary judgment motions without undue delay, the amended scheduling and docket

control order is as follows:

1.     July 6, 2018                    THE DEFENDANTS TO RESPOND TO THE
                                       PLAINTIFFS’ SUMMARY JUDGMENT MOTION AND
                                       TO FILE THEIR OWN PRETRIAL MOTION FOR
                                       SUMMARY JUDGMENT

2.     August 3, 2018                  THE PLAINTIFFS TO REPLY IN SUPPORT OF
                                       THEIR MOTION FOR SUMMARY JUDGMENT AND
                                       RESPOND TO THE DEFENDANTS’ MOTION FOR
                                       SUMMARY JUDGMENT

3.     August 17, 2018                 THE DEFENDANTS TO REPLY IN SUPPORT OF
                                       THEIR MOTION FOR SUMMARY JUDGMENT

4.     August 22, 2018                 ORAL ARGUMENT ON THE SUMMARY JUDGMENT
       at 9:00 a.m.                    MOTIONS

5.     September 14, 2018              COMPLETION OF FACT DISCOVERY
                                       Written discovery requests are not timely if they are filed so
                                       close to this deadline that under the Federal Rules of Civil
                                       Procedure the response would not be due until after the
                                       deadline.

                                       EXPERTS ON MATTERS OTHER THAN
                                       ATTORNEY’S FEES
6a.    September 28, 2018              The plaintiff (or the party with the burden of proof on an
                                       issue) will designate expert witnesses in writing and provide
                                       the report required by Rule 26(a)(2) of the Federal Rules of
                                       Civil Procedure.

6b.    October 12, 2018                The opposing party will designate expert witnesses in writing
                                       and provide the report required by Rule 26(a)(2) of the
                                       Federal Rules of Civil Procedure.

7.     October 19, 2018                COMPLETION OF EXPERT DISCOVERY



                                                  5
      Case 4:16-cv-01414 Document 423 Filed in TXSD on 06/25/18 Page 6 of 6



8.     November 2, 2018              JOINT PRETRIAL ORDER AND MOTION IN LIMINE
                                     DEADLINE
                                     The Joint Pretrial Order will contain the pretrial disclosures
                                     required by Rule 26(a)(3) of the Federal Rules of Civil
                                     Procedure. Plaintiff is responsible for timely filing the
                                     complete Joint Pretrial Order. Failure to file a Joint Pretrial
                                     Order timely may lead to dismissal or other sanction in
                                     accordance with the applicable rules.

9.     November 16, 2018             MOTION IN LIMINE RESPONSES DEADLINE

10.    November 26, 2018             DOCKET CALL
                                     Docket Call will be held at 2:00 p.m. in Courtroom 11-B,
                                     United States Courthouse, 515 Rusk, Houston, Texas. No
                                     documents filed within 7 days of the Docket Call will be
                                     considered. Pending motions may be ruled on at docket call,
                                     and the case will be set for trial as close to the docket call as
                                     practicable.

11.    December 3, 2018              MERITS TRIAL

12.    Additional orders relating to disclosures, discovery, or pretrial motions:

       Any party wishing to make any discovery motions should arrange for a pre-motion
conference with the court before the preparation and submission of any motion papers. That
includes a motion to compel, to quash, or for protection.             Email Mrs. Eddins at
Lisa_Eddins@txs.uscourts.gov or fax her at 713-250-5213 to arrange for a pre-motion conference.
Notify your adversary of the date and time for the conference.

              SIGNED on June 25, 2018, at Houston, Texas.

                                              ______________________________________
                                                         Lee H. Rosenthal
                                                    Chief United States District Judge




                                                6
